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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION




   THE STATE OF TEXAS, et al.,

                                 Plaintiffs,
                                                     Civil Action No. 4:20-cv-00957-SDJ
          v.

   GOOGLELLC,

                                 Defendant.


                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




     IN RE GOOGLE DIGITAL ADVERTISING               Civil Action No. 1:2 l-md-030 l 0-PKC
     ANTITRUST LITIG.




    [SPECIAL MASTER'S RECOMMENDED) ORDER REGARDING COORDINATION
                            OF DISCOVERY

               Definitions. For purposes of this Order, the following definitions will apply:

               a.     "Confidential Infonnation" means material that qualifies as "Confidential

        Information" as that term is defined in either paragraph l(b) of the MDL Confidentiality

        Order or paragraph l(b) of the Texas Confidentiality Order.

               b.     "Coordinated Case" means the MDL or the Texas Case.
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               c.      "Coordinated Discovery Period" means the time period after May 30, 2023,

        and before the Fact Discovery Cutoff in the Texas Case or in the MDL, whichever is later.

               d.      "Counsel" means Outside Counsel, Texas Plaintiffs' Counsel, and MDL

        Plaintiffs' Counsel, provided that "Counsel" shall not include Counsel for any Party that

        ceases to be part of the MDL (unless and until a further order directs otherwise).

               e.      "Cross Notice" means to send a notice of intent to take a deposition of a

        Party under Federal Rule of Civil Procedure 30(b)(l) or 30(b)(6) or to serve a subpoena

        for a Non-Party Deposition under Federal Rule of Civil Procedure 45(a)(l ), after another

        Party has Noticed a deposition of the same witness.

               f.      "Deposition Limit" means (i) for Parties in the MDL, the fact-deposition

        limit in the MDL referenced in paragraph 6.5 of Pre-Trial Order Number 5 in the MDL

        (0kt. 394), and any changes to that limit that may be made after entry of this Order; and

        (ii) for Parties in the Texas Case, the fact-deposition limits in the Texas Case referenced

        on pages 6-7 of the Scheduling Order (0kt. 194), and any changes to those limits that may

        be made after entry of this Order.

               g.      "Deposition Notice" means a notice of intent to take a deposition of a Party

        under Federal Rule of Civil Procedure 30(b)(l) or 30(b)(6) or a subpoena for a Non-Party

        Deposition under Federal Rule of Civil Procedure 45(a)(l).

               h.      "District Courts" means the U.S. District Court for the Eastern District of

        Texas and the U.S. District Court for the Southern District of New York.

               1.      "Expert Discovery" means expert reports, backup materials and other

        information disclosed in connection with expert reports, and expert testimony (including

        expert deposition testimony), in a Coordinated Case or in the Virginia Case.



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                J.       "Expert Discovery Cutoff' means the date ordered by the Court for a

         Coordinated Case for the conclusion of Expert Discovery in that case, including any

         extension thereof.

                k.      "Fact Discovery Cutoff' means the date ordered by the Court for a

         Coordinated Case or the Virginia Case for the conclusion of fact discovery in that case,

         including any extension thereof.

                I.      "Google" means Google LLC, as well as its parents, divisions, subsidiaries,

        affiliates, partnerships and joint ventures, and all directors, officers, employees, agents

        (including counsel), and representatives of the foregoing.

                m.      "Google Deposition" means any deposition of a current or former employee

        of Google or of Google's corporate designee under Federal Rule of Civil Procedure

        30(b)(6).

                n.      "Highly Confidential Information" means material that qualifies as "Highly

        Confidential Information" as that term is defined in either paragraph 1(h) of the MDL

        Confidentiality Order or paragraph l(h) of the Texas Confidentiality Order.

                o.     "MDL" means the multidistrict litigation captioned as In re Google Digital

        Advertising Antitrust Litigation that is currently pending in the U.S. District Court for the

        Southern District of New York under docket number 21-md-03010-PKC, and all of the

        cases that are currently part of that multidistrict litigation or that become part of that

        multidistrict litigation after entry of this Order, but only for such time as a case is part of

        the multidistrict litigation (unless and until a further order directs otherwise).

               p.      "MDL Confidentiality Order" means the Confidentiality Order entered as

        docket entry 685 in the MDL or any amended Confidentiality Order in the MDL.



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                q.     "MDL Plaintiff' means a plaintiff in any case made part of the MDL, but

         only for such time as that plaintiff's case is part of the MDL (unless and until a further

        order directs otherwise).

                r.     "MDL Plaintiffs' Counsel" means any attorney retained to represent or

        advise an MDL Plaintiff, as well as any paralegals, administrative assistants, and clerical

        and administrative personnel supervised by that attorney, but only for such time as that

        MDL Plaintiff's case is part of the MDL ( unless and until a further order directs otherwise).

                s.     "Meta" means Meta Platforms, Inc. as well as its parents, divisions,

        subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers,

        employees, agents (including counsel), and representatives of the foregoing.

                t.     "NBA Stay" means the stay of discovery relating to the Network Bidding

        Agreement that was entered in paragraph 3 of Pre-Trial Order No. 5 in the MDL (0kt.

        394).

                u.     "Non-Noticing Party" means, with respect to a particular deposition, any

        Party other than the Noticing Party.

                v.     "Non-Party Deposition" means a deposition of an individual who is not a

        Party or a current or former employee of a Party; a deposition of a current or former

        employee of an entity that is not a Party; and/or a deposition of a corporate designee under

        Federal Rule of Civil Procedure 30(b)(6) of an entity that is not a Party.

                w.     "Notice" means to send a notice of intent to take a deposition of a Party

        under Federal Rule of Civil Procedure 30(b)(l) or 30(b)(6), or to serve a subpoena for a

        Non-Party Deposition under Federal Rule of Civil Procedure 45(a)(l).




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                x.      "Noticing Party" means, with respect to a particular deposition, the Party

        that sends a Deposition Notice for that deposition.

                y.      "Outside Counsel" means the attorneys employed by outside law firms who

        are retained to represent or advise a Party in a Coordinated Case, as well as any paralegals,

        administrative assistants, and clerical and administrative personnel supervised by those

        attorneys.

                z.      "Party" means any individual or entity that asserts a claim, or against which

        a claim has been asserted, in the MDL or the Tex.as Case, including the MDL Plaintiffs,

        the Texas Plaintiffs, Meta, and Google, provided that Meta shall not be considered a

        "Party" while the NBA Stay is in effect or unti I sixty (60) days after the NBA stay is lifted.

        For the avoidance of doubt, unless and until a further order directs otherwise, an individual

        or entity ceases to be a "Party" if all of the claims that it asserts or that have been asserted

        against it in the MDL or the Texas Case have been dismissed or otherwise adjudicated by

        a District Court or transferred to a court other than one of the District Courts.

               aa.      "Party Deposition" means any fact deposition of a current or former

        employee of a Party or a Party's corporate designee under Federal Rule of Civil Procedure

        30(b)(6).

               bb.     "Protective Orders" means the MDL Confidentiality Order and the Texas

        Confidentiality Order.

               cc.     "Shared Discovery" means ( l) all documents, data, and written discovery

        (e.g., interrogatory responses) produced to a Party, or served on a Party, by or from another

        Party or third party during fact discovery in the Virginia Case; and (2) all documents, data,

        and written discovery (e.g., interrogatory responses) produced to a Party, or served on a



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        Party, by or from another Party or third party in a Coordinated Case during the Coordinated

        Discovery Period, and does not include Expert Discovery.

                dd.    "Texas Case" means the case captioned as The State of Texas, et al. v.

        Google, LLC that is pending in the U.S. District Court for the Eastern District of Texas

        under docket number 4:20-cv-00957-SDJ, including the time during which it was part of

        the MDL.

                ee.    "Texas Confidentiality Order" means the Confidentiality Order entered as

        docket entry 182 in the Texas Case or any amended Confidentiality Order in the Texas

        Case.

                ff.    "Texas Plaintiffs" means the States of Texas, Alaska, Arkansas, Idaho,

        Indiana, Florida, Louisiana, Mississippi, Montana, Missouri, Nevada, North Dakota, South

        Dakota, South Carolina, Utah, the Commonwealth of Kentucky, Puerto Rico, and any other

        state that joins the Texas Case, by and through their respective Attorneys General, but only

        for such time as that state remains a Party in the Texas Case (unless and until further order

        directs otherwise).

                gg.    "Texas Plaintiffs' Counsel" means any attorney retained to represent or

        advise a Plaintiff in the Texas Case, as well as any paralegals, administrative assistants,

        and clerical and administrative personnel supervised by that attorney, but only for such

        time as that state remains a Party in the Texas Case (unless and until further order directs

        otherwise).

                hh.    "Transcript" means any recording of testimony, including recordings by

        stenographic means and by video.




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                  11.    "Virginia Case" means the case captioned as United States, et al. v. Google,

          LLC that is pending in the U.S. District Court for the Eastern District of Virginia under

          docket number I :23-cv-00108-LMB-JFA.

                  jj.     "Virginia Plaintiffs" means the United States (including the "Federal

          Agency Advertisers" as defined in 16(A) of the Joint Discovery Plan in the Virginia Case,

          Dkt. 87), and the States of Arizona, California, Colorado, Connecticut, Illinois, Michigan,

          Minnesota, Nebraska, New Hampshire, New Jersey, New York, North Carolina, Rhode

          Island, Tennessee, Washington, and West Virginia and the Commonwealth of Virginia,

          and any other state that joins the Virginia Case, by and through their respective Attorneys

          General.

                  kk.     "Virginia Plaintiffs' Counsel" means "Plaintiffs' Counsel" as that term is

          defined in 1 l(p) of the Virginia Protective Order.

                  II.     "Virginia Protective Order" means the Modified Protective Order entered

          as docket entry 98 in the Virginia Case.

          2.      Shared Discovery. Notwithstanding the Protective Orders, Counsel must disclose

   Shared Discovery to all other Counsel no later than five (5) business days after disclosing Shared

  Discovery to any Counsel, provided that Shared Discovery may not be disclosed to either (i) any

  Counsel representing an MDL Plaintiff as to which discovery has been stayed or has not begun;

  or (ii) Counsel representing Meta while the NBA Stay is in effect. 1 If Shared Discovery is not

  disclosed in a timely fashion, i.e., before the Fact Discovery Cutoff in the Texas Case or the end

  of the Coordinated Discovery Period as applicable, and the producing party is unable to

  demonstrate good cause for the untimely disclosure(s), the Court may exercise its authority under


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   Shared Discovery produced by Meta as a NonhParty in the Texas Case (if any) shall not be
  made available to MDL Plaintiffs until seven (7) days after the NBA Stay is lifted.

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   Fed. R. Civ. P. 37 to prevent the use of such information to supply evidence on a motion, at a

   hearing, or at trial, order the payment of costs and fees, instruct the jury on the disclosing party's

   failure, or impose any other sanction the Court deems appropriate.

                  a.      Shared Discovery that was produced and designated as Confidential

          Information in the Texas Case may be used in the MDL only to the extent that Confidential

          Information may be used under the MDL Confidentiality Order.

                  b.      Shared Discovery that was produced and designated as Highly Confidential

          Information in the Texas Case may be used in the MDL only to the extent that Highly

          Confidential Information may be used under the MDL Confidentiality Order.

                  c.      Shared Discovery that was produced and designated as Confidential

          Information in the MDL may be used in the Texas Case only to the extent that Confidential

          Information may be used under the Texas Confidentiality Order.

                  d.      Shared Discovery that was produced and designated as Highly Confidential

          Information in the MDL may be used in the Texas Case only to the extent that Highly

          Confidential Information may be used under the Texas Confidentiality Order.

                  e.      Subject to sub-paragraphs 2(a)-(d), Shared Discovery that was produced in

          a Coordinated Case may be used in any Coordinated Case for any purpose permissible

          under the Federal Rules of Evidence and the Federal Rules of Civil Procedure (including

          for purposes of impeachment at trial), as if the Shared Discovery had been produced in

          both Coordinated Cases. Notwithstanding the previous sentence, absent an order of the

          Court in the Texas Case, Shared Discovery produced in the MDL case after the Fact

          Discovery Cutoff in the Texas Case may not be used by any Party in the Texas Case, unless

          (I) the Shared Discovery is produced in the Texas Case within 14 days of its receipt in the



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          MDL, notwithstanding the close of fact discovery in the Texas Case; and (2) the Shared

          Discovery is used in the Texas Case only for impeachment purposes at trial and may not

          be admitted into evidence or used in any dispositive motion, pleading, or expert report.

                  f.     Google shall notify Texas Plaintiffs at least twenty-four (24) hours m

          advance of serving an expert report in the MDL if Google serves such report before the

          due date in the MDL.

          3.      Depositions Taken During Coordinated Discovery Period. During the Coordinated

   Discovery Period, the following provisions shall apply :

                 a.      The Parties in the Coordinated Cases shall serve any Deposition Notice on

          all Parties in the Coordinated Cases. 2 No Party may Notice a deposition in a Coordinated

          Case in which it is not a plaintiff or a defendant. If a deposition has been Noticed in one

          of the Coordinated Cases, a Party in the other Coordinated Case may Cross Notice the

          deposition in the other Coordinated Case,

                 b.      No Party shall send a Deposition Notice for a deposition to be held fewer

          than fourteen (14) days after the date on which the Deposition Notice is sent.

                 c.      If a Non-Noticing Party wishes to Cross Notice a deposition, it must do so

          within seven (7) days of receiving the Deposition Notice for that deposition. A Non-

          Noticing Party may not Cross Notice a deposition if doing so would cause that Non-

          Noticing Party to exceed a Deposition Limit.




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   For purposes of paragraphs 3, 4, and 5, MDL Plaintiffs collectively will be considered a
  "Noticing Party" or a "Non-Noticing Party," and the Discovery Steering Committee in the MDL
  shall act on behalf of all MDL Plaintiffs. In addition, Texas Plaintiffs collectively will be
  considered a "Noticing Party" or a "Non-Noticing Party," and the State of Texas shall act on
  behalf of all Texas Plaintiffs.

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                 d.      If a Non-Noticing Party Cross Notices the deposition within seven (7) days

         of receiving the Deposition Notice, the deposition will count against any Deposition Limit

         applicable to that Non-Noticing Party (unless the deposition does not take place). The

         deposition will also count against any Deposition Limit applicable to the Noticing Party

         (unless the deposition does not take place).     For the avoidance of doubt, if a Party

         withdraws a previously-served Notice or Cross Notice at least forty-eight (48) hours before

         the deposition takes place, then that deposition will not count against any Deposition Limit

         applicable to that Party.

                e.      Any witness appearing at a Google Deposition, a Party Deposition, or a

         Non-Party Deposition Noticed or Cross Noticed by any Party or by any party in the

         Virginia Case during the Coordinated Discovery Period cannot be compelled to sit for a

         second deposition in any Coordinated Case (including a second Rule 30(b)(6) deposition

         of the same entity on the same or substantially similar topics), absent good cause shown to

         the Court in the Coordinated Case for which the subsequent deposition of the witness is

         noticed.

                f.      Notwithstanding the Protective Orders, Counsel may disclose Transcripts

         and exhibits from depositions taken during the Coordinated Discovery Period, including

         those depositions taken in the Virginia Case, to any other Counsel and Virginia Plaintiffs'

         Counsel, provided that such Transcripts and exhibits may not be disclosed to either (i) any

         Counsel representing an MDL Plaintiff as to which discovery has been stayed or has not

         begun; or (ii) Counsel representing Meta while the NBA Stay is in effect. Subject to the

         Protective Orders, Transcripts and exhibits from depositions taken in a Coordinated Case

         or in the Virginia Case during the Coordinated Discovery Period may be used in any



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          Coordinated Case for any purpose permissible under the Federal Rules of Evidence and the

          Federal Rules of Civil Procedure (including for purposes of impeachment at trial).

                  g.     Notwithstanding any other provisions of this Order, while the NBA Stay is

          in effect, (i) Meta may not Notice or Cross Notice a deposition, and Meta may not question

          a witness at a Google Deposition, a Party Deposition, or a Non-Party Deposition (except

          at a Non-Party Deposition of a current or former Meta employee); (ii) MDL Plaintiffs and

          Texas Plaintiffs may not Cross Notice a deposition of a current or former Meta employee;

          and (iii) no Transcripts and exhibits from depositions of current and/or former Meta

          employees may be disclosed to or used by MDL Plaintiffs or Texas Plaintiffs.

          4.     Time Allocations at Google Depositions Taken During Coordinated Discovery

   Period. During the Coordinated Discovery Period, the following provisions shall apply:

                 a.      If any Party Notices a Google Deposition, and no other Party Cross Notices

          the deposition, then the Noticing Party will have six (6) hours on the record to examine the

          witness, and any Non-Noticing Party or Parties in the Coordinated Case to which the

          Deposition Notice applies will collectively have one (1) hour on the record to examine the

          witness. If no Non-Noticing Party requests to examine the witness, the Noticing Party will

          have seven (7) hours on the record to examine the witness.

                 b.      If Texas Plaintiffs and MDL Plaintiffs both Notice or Cross Notice a Google

          Deposition, and no other Party Notices or Cross Notices the deposition, then the deposition

          will be held for two (2) consecutive days. Texas Plaintiffs will have seven (7) hours on the

          record to examine the witness, MDL Plaintiffs will have six (6) hours on the record to

          examine the witness, and Meta wil 1have one (I) hour on the record to examine the witness,




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          if Meta is deemed a Party (under paragraph l(z)) at the time of the deposition. Otherwise

          MDL Plaintiffs will have seven (7) hours on the record to examine the witness.

                 c.      If Texas Plaintiffs and Meta both Notice or Cross Notice a Google

          Deposition, and no other Party Cross Notices the deposition, then the deposition will be

          held for two (2) consecutive days. Texas Plaintiffs will have seven (7) hours on the record

          to examine the witness, Meta will have six (6) hours on the record to examine the witness,

          and MDL Plaintiffs will have one (I) hour on the record to examine the witness.

                 d.      If Texas Plaintiffs, MDL Plaintiffs, and Meta all Notice or Cross Notice a

          Google Deposition, then the deposition will be held for two (2) consecutive days. Texas

          Plaintiffs will have seven (7) hours on the record to examine the witness, and MDL

          Plaintiffs and Meta will collectively have seven (7) hours on the record to examine the

          witness, if Meta is deemed a Party (under paragraph 1(z)) at the time of the deposition.

          5.     Time Allocations at Non-Party Depositions Taken During Coordinated Discovery

   Period. During the Coordinated Discovery Period, the following provisions shall apply:

                 a.      If a Party Notices a Non-Party Deposition, and no other Party Cross Notices

          the deposition, then the Noticing Party will have six (6) hours on the record to examine the

          witness, and any Non-Noticing Party or Parties in the Coordinated Case to which the

          Deposition Notice applies will collectively have one (I) hour on the record to examine the

          witness. If no Non-Noticing Party requests to examine the witness, the Noticing Party will

          have seven (7) hours on the record to examine the witness.

                 b.      If two Parties (one of which is Google) Notice or Cross Notice a Non-Party

          Deposition, and no other Party Cross Notices the deposition, then Google will have three

          (3) hours on the record to examine the witness, the other Party that Noticed or Cross



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         Noticed the deposition will have three (3) hours on the record to examine the witness, and

         any Non-Noticing Party or Parties in the Coordinated Case(s) to which the Deposition

         Notice(s) apply will collectively have one (1) hour on the record to examine the witness.

         If no Non-Noticing Party requests to examine the witness, the Noticing Party will have

         three and one-half (3.5) hours on the record to examine the witness, and Google will have

         three and one-half (3 .5) hours on the record to examine the witness.

                c.      If two Parties (neither of which is Google) Notice or Cross Notice a Non-

         Party Deposition, and no other Party Cross Notices the deposition, then each of the Parties

         that Noticed or Cross Noticed the deposition will have two and one-half (2.5) hours on the

         record to examine the witness, Google will have one (1) hour on the record to examine the

         witness, and any Non-Noticing Party in the Coordinated Case(s) to which the Deposition

         Notice(s) apply will have one (1) hour on the record to examine the witness. If no Non-

         Noticing Party requests to examine the witness, each Party that Noticed or Cross Noticed

         the deposition will have three (3) hours on the record to examine the witness.

                d.       If three Parties (one of which is Google) Notice or Cross Notice a Non-

         Party Deposition, and no other Party Cross Notices the deposition, then the deposition will

         be held for two (2) consecutive days. Each of the Parties that Noticed or Cross Noticed the

         deposition will have three (3) hours on the record to examine the witness, and any Non-

         Noticing Party in the Coordinated Case(s) to which the Deposition Notice(s) apply will

         have one (1) hour on the record to examine the witness. If no Non-Noticing Party requests

         to examine the witness, each Party that Noticed or Cross Noticed the deposition will have

         three hours and twenty minutes (3.3) hours on the record to examine the witness.




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                  e.       If three Parties (none of which is Google) Notice or Cross Notice a Non-

          Party Deposition, and Google does not Cross Notice the deposition, then the deposition

          will be held for two (2) consecutive days. Each ofthe Parties that Noticed or Cross Noticed

          the deposition will have four (4) hours on the record to examine the witness, and Google

          will have one (1) hour on the record to examine the witness.

                  f.       If Google, Meta, Texas Plaintiffs, and MDL Plaintiffs all Notice or Cross

          Notice a Non-Party Deposition, then the deposition will be held for two (2) consecutive

          days. Google will have three (3) hours on the record to examine the witness, Meta will

          have three (3) hours on the record to examine the witness, Texas Plaintiffs will have three

          (3) hours on the record to examine the witness, and MDL Plaintiffs will have three (3)

          hours on the record to examine the witness.

          6.      Depositions Taken Outside Fact Discovery Cutoff. Outside the Fact Discovery

   Cutoff, the following provisions shall apply:

                  a.       The Parties in the Texas Case and MDL shall serve any Deposition Notice

          on each other.

                  b.       Notwithstanding the Protective Orders, Counsel for any Party and Virginia

          Plaintiffs' Counsel may obtain Transcripts and exhibits of Google Depositions, Party

          Depositions, and Non-Party Depositions in the Texas Case or the MDL after the Fact

          Discovery Cutoffs in the Virginia Case, the Texas Case, or the MDL directly from the court

          reporters for those depositions.

                  c.       Notwithstanding the Protective Orders, Counsel may disclose Transcripts

          and exhibits from depositions taken outside a Fact Discovery Cutoff to any other Counsel

          and Virginia Plaintiffs' Counsel, provided that such Transcripts and exhibits may not be



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           disclosed to either (i) any Counsel representing an MDL Plaintiff as to which discovery

           has been stayed or has not begun; or (ii) Counsel representing Meta while the NBA Stay is

           in effect.

                   d.      Subject to the Protective Orders, absent an order of the Court in the Texas

           Case, Transcripts and exhibits from depositions taken outside the Fact Discovery Cutoff

           in the Texas Case may not be used in the Texas Case for any purpose other than

           impeachment at trial. For the avoidance of doubt, absent an order of the Court in the Texas

           Case, such Transcripts and exhibits may not be admitted into evidence at trial in the Texas

           Case or otherwise used affirmatively by any Party in any dispositive motion, pleading, or

           expert report in the Texas Case.

           7.      Expert Discovery. Expert Discovery shall not be shared between the Coordinated

   Cases or between the Coordinated Cases and the Virginia Case pending further order. The parties

   shall meet-and-confer over whether there are circumstances in which Expert Discovery may or

   should be shared between the Coordinated Cases and the Virginia Case no later than March 15,

   2024, and shall submit a joint status report regarding their meet-and-confer efforts no later than

   March 22, 2024. Google shall notify Texas Plaintiffs at least twenty-four (24) hours in advance

   of serving an expert report in the MDL if Google serves such report before the due date in the

   MDL.

           8.     Notice to Non-Parties. Any Party, in conducting discovery from a non-party in

   connection with a Coordinated Case, shall provide the non~party from which it seeks discovery

   with a copy of this Order so as to inform the non-party of his, her, or its rights herein. In addition,

   within three business days of this Order taking effect, the Parties shall give notice as described in

   the following sub-paragraphs:



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                   a.      Texas Plaintiffs shall give notice of this Order to (i) all persons to whom

           Texas Plaintiffs provided notice of the Texas Confidentiality Order under paragraph 2 of

           that order; and (ii) all recipients of subpoenas that Texas Plaintiffs have served in the Texas

           Case before this Order took effect.

                  b.       MDL Plaintiffs shall give notice of this Order to (i) all persons to whom

           MDL Plaintiffs provided notice of the MDL Confidentiality Order under paragraph 2 of

           that order; and (ii) all recipients of subpoenas that MDL Plaintiffs have served in the MDL

           before this Order took effect.

                  c.       Google shall give notice of this Order to all recipients of subpoenas that

           Google has served in the Texas Case and/or the MDL before this Order took effect.

           9.     Departure from MDL. If any case(s) currently part of the MDL are transferred to

   other venue(s), the Parties in the Coordinated Cases shall meet and confer with the parties to the

   transferred case(s) regarding whether, and on what conditions, the transferred case(s) should be

   coordinated with the MDL and the Texas Case. If all claims brought by an MDL Plaintiff are

   dismissed, transferred, or remanded, then that MDL Plaintiff shall be treated as a Non-Party for

   purposes of this Order after such dismissal, transfer, or remand. If all claims brought against Meta

   in the MDL are dismissed, then Meta shall be treated as a Non-Party for purposes of this Order

   after such dismissal.

          10.     Effective Date. This Order shall not come into effect unless and until it has been

   entered in both the MDL and the Texas Case.

   IT IS HEREBY SO ORDERED this _ _ day of _ _ _ _ _ _ _, 2024.




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